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CHARTER OAK FIRE INSURANCE
COMPANY, THE TRAVELERS HOME &
MARINE INSURANCE COMPANY, THE
AUTOMDBILE INSURANCE COMPANY OF
HARTFORD, CONNECTICUT,

Plaintiffs,
v. No. 04-2941 Ml/v
wILLIAM DEAN RADEFELD, MARK

RADEFELD, THE BAKER!, INC. and
BRENDA K. FULLER,

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Defandants.

 

ORDER DENYING DEFENDANTS' MOTIONS TO DISMISS

 

Before the Court is the motion to dismiss of Defendant Mark
Radefeld, filed on February 4, 2005, and supplemented with a
memorandum in support of the motion to dismiss on February 25,
2005; the notice of motion to dismiss of Defendant Brenda K.
Fuller, filed February l, 2005; and the motion to dismiss of
Defendant William Dean Radefeld, filed March lO, 2005.
Plaintiffs responded in opposition to the respective motions on
March l, 2005, and in two separate submissions filed on April 5,
2005. For the following reasons, Defendants’ motions to dismiss

are DENIED.

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The instant case is a declaratory judgment action filed by
Plaintiff insurers which seeks a declaration that Defendants Mark
Radefeld, William Dean Radefeld, and the Bakery, Inc. (the
“Radefeld Defendants”) are not entitled to coverage pursuant to
insurance policies issued by Plaintiffs for injuries sustained by
Defendant Brenda K. Fuller, purportedly due to the Radefeld
Defendants' negligence. Defendant Fuller has sued the Radefeld
Defendants for negligence in the Circuit Court of Tennessee for
the Thirtieth Judicial District at Memphis, seeking compensation
for injuries she sustained due to their alleged negligence.
Plaintiffs, however, are not currently a party to that litigation
or any other litigation in Tennessee courts involving any of the
Defendants.

Defendants contend that Plaintiffs' Complaint should be
dismissed because it fails to state a claim upon which relief may
be granted and because the Court should decline to exercise its
discretion to assert jurisdiction over Plaintiffs’ declaratory
judgment action. The Court will address these contentions in
turn.

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure l2(b)(6). When considering a Rule
12(b)(6} motion, a court must treat all of the well-pleaded

allegations of the complaint as true. Savlor v. Parker Seal Co.,

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975 F.2d 252, 254 (6th Cir. 1992). Furthermore, the court must
construe all of the allegations in the light most favorable to
the non-moving party. Scheuer v. Rhodes, 416 U.S. 232, 236
(1974}. “A court may dismiss a [claim under Rule 12(b)(6)] only
if it is clear that no relief could be granted under any set of
facts that could be proved consistent with the allegations.”
Hishon v. King & Sbaldingr 467 U.S. 69, 73 (1984).

Defendants contend that Plaintiffs fail to state a claim
upon which relief may be granted because Plaintiffs have not
specified in their Complaint the terms of the parties' insurance
coverage agreements upon which Plaintiffs rely in asserting that
they are entitled to a declaratory judgment. lt is clear from
the face of the Complaint, however, that Plaintiffs assert that
Defendants are not entitled to coverage under the relevant
policies noted in the Complaint. No further specificity is
required at this stage. Treating all of the well-pled
allegations in the Complaint as true and drawing all inferences
in favor of the Plaintiffs', the Court therefore finds that
Plaintiffs have adequately pled their cause of action.
Accordingly, Defendants' motions to dismiss Plaintiffs' Complaint
pursuant to Rule lZ{b)(6) are DENIED.

The Court next addresses Defendants’ contention that the
Court should decline to exercise its discretion to assert

jurisdiction over Plaintiffs' declaratory judgment action. The

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Declaratory Judgment Act, 28 U.S.C. § 2201, allows Federal courts
to entertain declaratory judgment actions. 28 U.S.C. § 2201.1
Federal District Courts “possess discretion in determining
whether and when to entertain an action under the Declaratory
Judgment Act, even when the suit otherwise satisfies subject
matter jurisdictional prerequisites.” AmSouth Bank v. Dale, 386
F.3d 763, 785 (Gth Cir. 2004)(citing Wilton v. Seven Falls Co.,
515 U.S. 2?7, 282 {1995)). “[T]he propriety of declaratory
relief in a particular case will depend upon a circumspect sense
of its fitness informed by the teachings and experience
concerning the functions and extent of federal judicial power.”
ldA (citations and internal quotation marks omitted). Such
concerns are heightened when there are pending state court
proceedings involving the same issues of state law. ld; The
United States Court of Appeals for the Sixth Circuit has adopted

the following five factor test to determine when a federal

 

1 28 U.S.C. § 2201 provides:

(a) In a case of actual controversy within its
jurisdiction, ... any court of the United States,
upon the filing of an appropriate pleading, may
declare the rights and other legal relations of any
interested party seeking such declaration, whether
or not further relief is or could be sought. Any
such declaration shall have the force and effect of
a final judgment or decree and shall be reviewable
as such.

28 U.S.C. § 2201.

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district court should exercise jurisdiction over a declaratory

judgment action:
(l) whether the judgment would settle the controversy;
(2) whether the declaratory judgment action would serve
a useful purpose in clarifying the legal relations at
issue; (3) whether the declaratory remedy is being used
merely for the purpose of procedural fencing or to
provide an arena for a race for res judicata; (4)
whether the use of a declaratory action would increase
the friction between our federal and state courts and
improperly encroach on state jurisdiction; and (5)
whether there is an alternative remedy that is better
or more effective.

ld. (citation and internal quotation marks omitted).

Based upon the five AmSouth factors, the Court finds that it
may appropriately exercise its discretion to assert jurisdiction
over Plaintiffs’ declaratory judgment action. First, the
resolution of Plaintiffs’ declaratory judgment action will
clarify legal relations at issue by settling the controversy of
whether the Radefeld Defendants are entitled to insurance
coverage pursuant to the relevant policies. Further, the Court
finds that Plaintiffs are not utilizing their action for
procedural fencing or to race for res judicata and that this
action would not increase friction between federal and state
courts or encroach upon state court jurisdiction because the
Plaintiffs are not parties to the state court litigation between
the Defendants. Finally, Defendants do not point to any

appropriate alternative remedy. Accordingly, Defendants’ motion

to dismiss Plaintiffs’ Complaint based upon the Court's

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discretion to exercise jurisdiction over Plaintiffs' declaratory

judgment action is DENIED.

For the reasons stated, Defendants’ motions to dismiss

Plaintiffs’ Complaint are DENIED.

So ORDERED this‘igpth day of June, 2005.

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P. MCCALLA
UO TED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02941 Was distributed by fax, mail, or direct printing on
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ESSEE

 

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Honorable Jon McCalla
US DISTRICT COURT

